MUM UNICM ULL M eC Umer iow

United States Bankruptcy Court for the:

Western District of Washington
(State)

Case number (if known): Chapter _44_ C} Check if th

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

Cascade Financial & Funding LLC
1. Debtor’s name

2. All other names debtor used none

in the last 8 years

Include any assumed names,

trade names, and doing business
as names

3. Debtor’s federal Employer 92 _ 1812939
Identification Number (EIN) OT

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
4103 Bridgeport Way #D Same
Number Street Number Street
P.O. Box

University PL , WA 98466

City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

Pierce
County Same
Number Street
City State ZIP Code
5. Debtor’s website (URL) na
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Name

Debtor EAELADE # NANCIAL- 4 FUND i NM We Case number (if known).

6. Type of debtor

a Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
() Partnership (excluding LLP)
C) other, Specify:

7. Describe debtor’s business

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See

A. Check one:

C] Health Care Business (as defined in 11 U.S.C. § 101(27A))
4 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L) Railroad (as defined in 11 U.S.C. § 101(44))

L} Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

) Clearing Bank (as defined in 11 U.S.C. § 781(3))

CL] None of the above

B. Check ail that apply:
CJ Tax-exempt entity (as described in 26 U.S.C. § 501)

Cd investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

(investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

htto-/Awww, uscourts. qov/four-digit-national-association-naics-codes .

5313
8. Under which chapter of the Check one:
Bankruptcy Code is the gQ
debtor filing? Chapter 7
CJ Chapter 9

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in .

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

Q) Chapter 11. Check aif that apply:

UEthe debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11U.S.C. § 1116(1)(B).

CJ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

CA plan is being filed with this petition.

Q) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

L) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C) Chapter 12

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2

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Debtor CASCADE FINANCIAL ¢ fu NDING ; Lb Cc Case number (if known)

Name y

9. Were prior bankruptcy cases ([) No

filed by or against the debtor x Yes. District _ egier Case number
within the last 8 years?
MM/ DD/YYYY

If more than 2 cases, attach a

separate list. District When Case number

MM/ DD/YYYY

10. Are any bankruptcy cases ® No
pending or being filed by a
business partner or an QO) Yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. If more than 1, MM / DD IYYYY

attach a separate list. Case number, if known

41. Why is the case filed in this Check all that apply:

district?
GY Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

LIA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own orhave (No

possession of any real Qf Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
property or personal property

that needs immediate Why does the property need immediate attention? (Check ail that apply.)

attention?

CJ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

C) It needs to be physically secured or protected from the weather.

L) It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

O other "4

na

Number Street

Where is the property?

City State ZIP Code

Is the property insured?

LC) No

Of Farmers
Yes. insurance agency

Contact name (

Phone (253) 267-1823

BE st2121:0 and administrative information

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3

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nar CASCADE FINANCIAL € FUNDING LLC cosa numporsenon

Name

13. Debtor’s estimation of
available funds

Check one:

Q Funds will be available for distribution to unsecured creditors.

C) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

1-49 C) 1,000-5,000 Q) 25,001-50,000
4, ee nae number of QD 50-99 Q 5,001-10,000 Q 50,001-100,000
credkors Q 100-199 OQ) 10,001-25,000 ©) More than 100,000
L) 200-999
©) $0-$50,000 PX $1,000,001-$10 million Q) $500,000,001-81 billion

15. Estimated assets

C) $50,001-$100,000
LI $100,001-$500,000
CJ $500,001-$1 million

(J $10,000,001-$50 million
CY $50,000,001-$100 million
UL) $100,000,001-$500 million

LY $1,000,000,001-$10 billion
L} $10,000,000,001-$50 billion
C) More than $50 billion

16. Estimated liabilities

LJ $0-$50,000

C) $50,001-$100,000
C] $100,001-$500,000
C) $500,001-$4 million

L¥ $41 ,000,001-$10 million

L} $10,000,001-$50 million
L) $50,000,001-$100 million
L) $100,000,001-$500 million

CL) $500,000,001-$1 billion

LJ $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion
() More than $50 billion

a Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

47. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 09 13 2023
MM / Db 1YYYY

x AD yi

>

Binh Tran

Gignature-of authorized representative of debtor

Title Manager Member

Printed name

Official Form 201

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Voluntary Petition for Non-Individuats Filing for Bankruptcy

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page 4

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BG Capital LLC Case number (if known)

Debtor
Name

18. Signature of attorney xX NA Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

x
Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5

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MIMO MianielatiteieLUCem (ees mC er: boi

Debtor name CAELADE FINAN AL & FUNDING f bi

estem
United States Bankruptcy Court for the:

District of

Case number (If known):

{State)

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

OQ) Check if this is an

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
C} No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

@ Yes. Fill in all of the information below.

tee List Creditors Who Have Secured Claims

El Creditor’s name
CAL CAP, Income Fund | LLC

Creditor’s mailing address

CAL CAP Lending LLC

2, List in alphabetical order all creditors who have secured claims. If a creditor has more than one
secured claim, list the creditor separately for each claim.

Describe debtor’s property that is subject to a lien

Deed of Trust Private Lender

65 N. Catalina AVE , Pasadena, CA 91106

Creditor’s email address, if known

na
Date debt was incurred 08/08/2022

Last 4 digits of account

number —X xX. XX
Do multiple creditors have an interest in the
same property?

QO) No

Yes. Specify each creditor, including this creditor,
and its relative priority.
BT property investments

Describe the lien Comerical Mortgage

ls the creditor an insider or related party?
Q No
O yes

Is anyone else liable on this claim?

CJ No

QI Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check ail that apply.

Ul] Contingent

Q) Unliquidated
Q Disputed

Column A Column B

Amount of claim Value of collateral
Do not deduct the value _.that supports this
of collateral. ‘claim

$ 2,400,000.00 g_3,600,000.00

Ez Creditor’s name

Describe debtor’s property that is subject to a lien

Page, if any.

$ $
Creditor’s mailing address
Describe the lien

Creditor’s email address, if known Is the creditor an insider or related party?

C) No

C) Yes
Date debt was incurred Is anyone else liable on this claim?
Last 4 digits of t LI) No

ast 4 digits of accoun QQ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
number a
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
QO No Q) Contingent
C) Yes. Have you already specified the relative Q) untiquidated
priority? CO) Disputed
CJ No. Specify each creditor, including this
creditor, and its relative priority.
C) Yes. The relative priority of creditors is
specified on lines
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional $

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of xe

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Debtor CASCADE fl NANCIAL- Funny ie

Name

Additional Page

Case number (if known),

Column A Column B
Amount of claim Value of collateral
Do not deduct the value that supports this

Creditor’s mailing address

Creditor’s email address, if known

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?
OC) No
C) Yes. Have you already specified the relative
priority?
[LI] No. Specify each creditor, including this
creditor, and its relative priority.

() Yes. The relative priority of creditors is
specified on lines

of collateral. claim
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page.
2_| Creditor’s name Describe debtor’s property that is subject to a lien
$ $
Creditor’s mailing address
Describe the lien
Creditor’s email address, if known Is the creditor an insider or related party?
O No
C} Yes
Date debt was incurred epnvone else liable on this claim?
ee °o
Last 4 digits of account C1 Yes. Fill out Schedule H: Codeblors (Official Form 206H).
number ee
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
CI No C) Contingent
L) Yes. Have you already specified the relative I Unliquidated
priority? Disputed
CI No. Specify each creditor, including this
creditor, and its relative priority.
CD Yes. The relative priority of creditors is
specified on lines
2. | Creditor’s name Describe debtor's property that is subject to a lien
§

Describe the lien

Is the creditor an insider or related party?
O No
CI ves

Is anyone else liable on this claim?
QO) No
Cl Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent

QO) Unliquidated
UO Disputed

Official Form 206D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page Lot 4.

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Debtor CRECADE FINANCIAL £ FONDING } Lic Case number (if known)

Name 1

ee List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address On which line in Part 4 Last 4 digits of
did you enter the account number
related creditor? for this entity

Line 2.

Line 2.

Line 2.

Line 2.

Line 2. __

Line 2.

Line 2.

Line 2.

Line 2. __

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page SS of

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Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commissio

pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of th
Bankruptcy Code, this Exhibit “A” shall be completed and attached to the petition ]

[Caption as in Form 416B]

Attachment to Voluntary Petition for Non-Individuals Filing for
Bankruptcy under Chapter 11

1, If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of
1934, the SEC file number is "4

2. The following financial data is the latest available information and refers to the debtor’s condition on

09/13/2023 .

a. Total assets $ 3,600,000.00

b. Total debts (including debts listed in 2.c., below) $ 2,400,000.00

c. Debt securities held by more than 500 holders
Approximate
number of
holders:

secured i unsecured [1 subordinated OO $ 2,400,000 2

secured [1 unsecured O subordinated OF §$

secured [1 unsecured subordinated O $

secured [] unsecured © subordinated O $

secured OJ unsecured O subordinated CO $

d. Number of shares of preferred stock
e. Number of shares common stock

Comments, if any:

Construction developement

3. Brief description of debtor’s business:

4, List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,

5% or more of the voting securities of debtor:
Binh Tran , managing member

Official Form 201A Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

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PUR UICHULeurelmceml CULM merci: ie MUTE TLL: B

Debtor Name CAL ADE FinANCAt- £ FUN DING f LLe

United States Bankruptcy Court for the: Western District of _§ WA
Giate)

Case number (if known):

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 1245

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included In the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

a Declaration and signature

1am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

LJ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

Schedule D; Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

O oO OOoOod

Other document that requires a declaration

&
| declare under penalty of perjury that the foregoing is true and correct. / /
° ° ¢ /4

09/13/2023 x * eS
ature 6 individual § ‘gning on behalf of debtor

Executed on
MM /DD/ YYYY sign
ae

Bihn Tran
Printed name

Managing Member
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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CAL CAP INCOME FUND 1, LLC
65 N. Catalina Ave
Pasadena, CA 91106

FCI, Lender Services
8180 Kaiser Blvd.
Anaheim CA 92809

Oversight of Commercial Default Services, LLC
4665 MacArthur Court, Suite 200
Newport Beach, CA 92660

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